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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 1:23-cv-20203-SCOLA/GOODMAN

   CRISTINA MUNOZ,

          Plaintiff,

   vs.

   UNITED VETERINARY
   SERVICES LLC, PINECREST
   ANIMAL MEDICAL CENTER
   L.L.C., AND CHRISTIANO
   VIOTTI,

         Defendants.
   ______________________________/

                               ORDER SCHEDULING MEDIATION

          The mediation conference in this matter shall be held with Karen Evans, Esq., on May 23rd,

   2023, at 11:30 am via Zoom Video Conference. This date has been agreed to by the mediator and

   the parties and shall not be rescheduled without leave of the Court.


          DONE and ORDERED in chambers, at Miami, Florida on _______________.




                                                         ________________________________
                                                          ROBERT N. SCOLA, JR.
                                                         UNITED STATES DISTRICT JUDGE


   Copies to:
   Designated U.S. Magistrate Judge
   Counsel of record
